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To provide an overview of the offenders sentenced to death, the
current law as it pertains to executions and the efforts made to
procure the necessary chemicals to compound the State's Lethal
Injection Compound (LIC).




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                                                As of August 31, 2017

                                   Offenders with sentences of death: 60

                                              By sex and race:
                                           59 males and 1 female
                              30 White, 27 African Americans, 1 Hispanic, 1 Asian

                                           Where are they from?
                            36 offenders are from the largest metropolitan counties:
                             Shelby (25), Davidson (6), Knox (5), and Hamilton (3)

                                16 offenders were convicted in East Tennessee
                               11 offenders were convicted in Middle Tennessee
                               33 offenders were convicted in West Tennessee


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                             Case 3:18-cv-01234 Document 1-20 Filed 11/02/18 Page 3 of 30 PageID #: 687
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                               2017 Dates (0):

                               2018 Dates (2):
                                      January 3, 2018
                                      May 9, 2018

                               Both cases just completed direct appeal and have additional
                               steps in the legal process.




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  •    T.C.A. § 40-23-114 provides that any person who is
       sentenced to the punishment of death, that sentence will
       be carried out by lethal injection with some exceptions
       such as:

                        llP
                                  A person sentenced to death for an offense
                                  committed prior to January 1, 1999 may elect to be
                                  executed by electrocution oy signing a waiver; OR

                        •         The TDOC Commissioner certifies to the governor
                                  that one or more of ingredients essential to carrying
                                  out a sentence of death by lethal injection is
                                  unavailable through no fault ofTDOC.




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                                  Case 3:18-cv-01234 Document 1-20 Filed 11/02/18 Page 5 of 30 PageID #: 689
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 Tennessee law further provides that the alternative means of
 execution shall be electrocution if the chemicals for the LIC are
 unavailable and/or lethal injection is found to be an
 unconstitutional method of carrying out a sentence of death.




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Tennessee Protocol:

Pentobarbital (Barbiturate) - compounded into an
injectable solution. For each execution, there are 2
syringes, each containing a 5 gram compounded solution
of Pentobarbital.




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 Reached out to                               as it was understood
 that they had a source for Pentobarbital. - w a s unwilling to
 either share the identity of their source, or provide our contact
 information to their source.         was also unwilling to offer any
 guidance as to how                      as able to find its current
 source.




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•                                     assigned with task of locating source of

• First step was to search by contacting compounding_
  pharmacies to determine if tliey: 1) Had an inventory or
  Pentobarbital; or 2) Had a source of Pentobarbital and were
  willing to compound the LIC for the department
ID   Several pharmacies declined to be involved in any way.
     Finally, a compounding pharmacy agreed to both compound
     the LIC and aid in the search for a source.

e    Search  involved    cold    calling   U.S.  based                                           Active
     Pharmaceutical Ingredient (API) supply companies .


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Collectively, contact was made with close to 100 potential sources,
including the 3 major U.S. chemical wholesalers. None of these worked
for one or more of the following reasons:

• Company did not have an inventory of Pentobarbital - apprx. 70o/o

°   Company did not have sufficient quantities of the needed form of
    Pentobarbital and no source to obtain sufficient quantities - apprx.
    1 Oo/o

°   Company unwilling to supply Pentobarbital if it was to be used in
    lethal injection - apprx. 20%


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 It appears there is no U.S. based source for Pentobarbital and so
 the search was broadened into the possibility of importing the
 chemical from overseas:

        • C.F.R. § 1312.13 grants the DEA the authority to issue
          permits for the importation of schedule II narcotics (i.e.
          Pentobarbital) when it is necessary to provide for a
          legitimate need of the U.S. and the domestic supply is
          inadequate


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 • When told that the companies who do have a supply would not
   sell their supply for use in lethal injection, the-agents
   explained that it didn't matter and that it was an issue to take
   up with the companies themselves.

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              is now researching FDA regulations as a result of this case
to determine what if any process can be undertaken to obtain FDA
approval for the importation of Pentobarbital. Thus far the approval
process appears to be very cumbersome unless an exception can be
claimed to lessen the burden.




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 Other states have had similar difficulty/inability in locating a source for
 their LIC.                                        .

 @   Arkansas attempted to perform 7 executions in the span of 10 days
     because their current supply of LIC was set to expire and the State did
     not have a source for additional LIC chemicals. Arkansas has
     subsequently obtained a supply of midazolam.

 e   South Carolina has stated, in connection with the recent conviction of
     Dylan Roof, that they do not have a supply of LIC and have not been
     able to find a supply.

 ~   Indiana DOC was reprimanded for not foHowing proper procedure in
     unilaterally trying to change their protocol to a new LIC due their
     inability to locate a supply of the current drug.


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 Other states have had similar difficulty/inability in locating a source for
 their LIC.

 I&   Texas, in the case mentioned before, attempted to import a different
      LIC chemical than they currently use in executions. Presumably due to
      the potential unavailability of Pentobarbital even on an international
      level.

 •    Some states are using LIC chemicals that have come under harsh
      scrutiny, such as Alabama's used of Midazolam in the recent execution
      of Robert Melson.


 •    Florida is using a drug, etomidate, that has never been used in the
      United States for execution.


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 A few years ago approximately 13 states reached out to the Department
 of justice seeking aid in locating a source for LIC chemicals and/or
 gaining access to any supply that the Federal Government currently had.
 This did not result in any action by DOJ.

 There are circumstances where the Federal Government can step in and
 orchestrate the supply of chemicals in situations where supply is so low
 and the cost for the chemical is so high as to make it virtually unavailable
 where there is a significant need.




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                                 i :;                                  i/

                            Me
                                                            is there a
                                                 or me to give u a holler?
                                                                                 10:06 AM




                     Good morning. I'll give you a
                     call in an hour.
                                                                   10:07 AM


                            Me
                            10-4 Just call this # in case I'm out
                            of office thx
                                                                                 10:07 AM




                            Me
                            I'm running around today so not
                            sure when I'll be open for a call but
                            in the meantime can LI send me a
                            list of all companies etc LI reached
                            out to about sourcing so I can have
                            it for when we have to show it's
                            unavailable? Thanks
                                                                                  8:49 AM

                                  \: 1 I\   r;   l /, ;'   i   I   .   !   l ·



                     I'm not ignoring you I promise.
                     Been getting over a nasty cold. I'm
                     working on the list this morning. I'll
                     have it to you soon.
                                                                       9:16AM




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                                                                                              000019
Case 3:18-cv-01234 Document 1-20 Filed 11/02/18 Page 19 of 30 PageID #: 703
                                                                                            Attachment 1486
                                                                                                       19
                             Me                                       (
                             10-4 Sorry ur sick in my voicemail I
                             had a question about what type of
                             pento y'all need cause I'm looking
                             into a company and they needed to
                             know which kind we wanted
                                                            9:17 AM


                             Me                                       (   ·)
                             Would~available
                             formetoask~
                                                            9:27 AM



                      We would need USP grade.

                      I've spoken with the following with
                      no luck:




                                                    9:52AM




                          Generated by GilApps SMSShare 2

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Case 3:18-cv-01234 Document 1-20 Filed 11/02/18 Page 20 of 30 PageID #: 704
                                                                               Attachment 19
                                                                                         1487
                              Me                                         ( )




                                                               9:55AM


                              Me
                              Canu tell from that pie which of
                              those would work?
                                                               9:55AM



                       I don't think any of those would
                       work fo         · n. I'm confirming
                       with
                                                     10:25 AM


                                                             Me
                                                             10-4
                                                              10:25 AM




                           Generated by GilApps SMSShare 2
                                                                                 000021
Case 3:18-cv-01234 Document 1-20 Filed 11/02/18 Page 21 of 30 PageID #: 705
                                                                               Attachment 19
                                                                                          1488
                     )
                         Also those are such small
                         quantities.
                                                       10:26AM


                                Me                                          (
                                Well the~ns on things
                                so once~ays which
                                one or what specific type we need
                                I'll shoot that to them to see if
                                possible
                                                             10:27 AM




                         If they have a crystalline option that
                         would work. Methanol and ethanol
                         are not injectable
                                                       10:33 AM


                                Me
                                Ok I've sent Inquiry as to USP grade
                                in crystalline form
                                                             10:37 AM


                                       Me
                                       Ok no dice with that company
                                                             11:03 AM




                         What are your thoughts on acquiring
                         it through a veterinarian? They
                         sometimes have better access to it
                         since it's widely used for euthanasia
                         in animals.
                                                       11:09 AM


                                Me
                                How would that even work? I'm
                                wondering how the vet could
                                legally transfer or sell the schedule
                                2 to y'all
                                                                  1:02 PM



                             Generated by GilApps SMSShare 2

                                                                      000022
Case 3:18-cv-01234 Document 1-20 Filed 11/02/18 Page 22 of 30 PageID #: 706
                                                                                Attachment1489
                                                                                           19
                                                           2:28 PM


                                    Me
                                    Let me do some looking into that
                                    possibility and talk with the bosses
                                                                    2:43 PM




                                    Me
                                    U got a free minute this afternoon
                                    for a call?
                                                                11:04AM

                     \
                         '
                             Yes sir I do.
                                  11 :07 AM
                                  Generated by GilApps SMSShare 2

                                                                                000023
Case 3:18-cv-01234 Document 1-20 Filed 11/02/18 Page 23 of 30 PageID #: 707
                                                                              Attachment 19
                                                                                         1490
From:
Sent:
To:
Subject:


Hi             It's                                                                                . Thx,




 Our Mission - To protect, promote and Improve the health ond prosperity of people in Tennessee.




                                                                                                     000024
Case 3:18-cv-01234 Document 1-20 Filed 11/02/18 Page 24 of 30 PageID #: 708
                                                                                                   Attachment 19
                                                                                                              1491
 From:
Sent:
To:
                                        illilMil         04, 2017 10:41 AM

Subject:                                RE: Your Inquiry




-
We had an internal discussion and we have to respectfully decline to quote.

      regards,




Tile lnform;-ition contained In this message :ind/or :ittachments ls intended only for the person or entity to which it is addressed and
may contain (onfidential and/or privileged material. Any review, retransmisslon, dissemination or other W$€ of, or taking of any
action In reliance upon, thls information by persons or entitles oth'"r than lhe Intended recipient is prohibited. If you received this in
error, ple;ise c:or1tact the sender and delete the material from any system and destroy any rernilinlng copies.




from
Sent:
To:
Subject: RE: Your inquiry

Thank you




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rnr1lef¥.°l lr1~ ':iOfJd(\t !))I U!f~)' c 1ni,:1il i1•u1'.e4Jlto:e1y snO OO"iltlJ)' 1111 ro;Jt·f'h'\ ur tilt 1J¥iQ.r.i~l n1t1:'rnJB




•
We have not made this compound in the past. I will have our technical team evaluate and let you know if we can
develop the $ynthetic route and GMP m.inufacture process here.




The information contained in this message and/or attachments is intended only for the person or entity to which it is addressed and
may contain confidential and/or privileged material. Any review, retnmsrnission, dissemination or other use of, or taking of any
action in reliance upon, thls informatlon by persons or entities other than ~he intended recipient ls prohibited. If you received this in
error, pleilse wnt11c.t the sendN and delet.e the m~t~rial from any ~y~tem and destroy any remaining copies.




To:
Subject: RE: Your inquiry

Here is the requested into:

        1)        Pentobarbitiil CAS # 76-74-4
        2)        Need at least 100 grams, would be interested in pricing for bulk order>




                                                                       000026
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                                                                                                                                                                                                                                              Attachment 19
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          3)         We have a compounding pharmacy able to compound the solution they Jus\ need the pentobarbital, however
                     would be interested ln pricing to compound as well through your organlza(!on.

 let me know if there is any other info you need. Thanks for your help.




C\:O.~r!OENTIALllY:                l hS inJ&'ll'\J,l~: eNll;;e1')(J In 1hl1 a-m:<ll 01(•t:s;ig1., l'ltk1dins i<1'1Y a\l<>-c!Frw.nis, ls inlMUf/d noll lorth(> P8t<N>Z', conl\Oe11ll>: ond                   01&   m1"6 lndMik& k1
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~··This is an EXTERNAL email. Please exercise caution. DO NOT open attachm1mt111 or click links from unknown
senders or unexpected email • STS-Security. •••



It was nice speaking with you, and thank you for your lnteres.t in                                                                                                                          could you provide the
following information:

         •          Name of the API
         •          Amount required
         .,         Will It be supplied In bulk, or do you need formulation, sterilization, fill/finish etc?

Kind regards,




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                                                                                                                                                                                                       Attachment 19
                                                                                                                                                                                                                                           1494
                                   THE CHANCERY COURT
                                DAVIDSON COUNTY, TENNESSEE

                   HONORABLE ELLEN HOBBS LYLE, CHANCELLOR
                                                                                       FILED
                                                                                       AUG 2 2 2018
                          MARIAM. SALAS, CLERK AND MASTER
                                                                                Clerk of the Appellate Courts
                                ABU-ALI-ABDUR'RAHMAN, ET AL                     Rec'd By
                                       Plaintiffs/Appellants
                                                                   VOLUME 11 of 19

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                     -<
                                        August 2j, 2018

   TONY PARKER, IN HIS OFFICIAL CAPACITY AS TENNESSEE COMMISSIONER OF
                            CORRECTION, ET AL
                                      Defendants/Appellees

                                    Trial Exhibits 106 - 116


Kelley J. Henry, #21113
Assistant Federal Public Defender
810 Broadway, Suite 200
Nashville TN 37202
(615) 736-5047

       Attorney for Plaintiffs/Appellants Abu-Ali-Abdur'Rahman, John Michael Bane,
Byron Black, Andre Bland, Kevin Burns, Tony Carruthers, Tyrone Chalmers, James
Dellinger, D£ivid Duncan, Kennatlt Henderson, Ant/tony Darrell Hines; Henry Hodges,
Stephen Hugueley, Akil Jalti, David Ivy, Donnie Johnson, David Jordan, David Keen, Donald
Middleb1·ooks, Farris Morris, Pervis Payne, Gerald Powers, William Glenn Rogers, Michael
Sample, Oscar Smith, Charles Walton Wright and Edmund Zagorski




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                                                                                   Attachment 19
 From:
 Sent:
 To!
 Cc:
 Subject:                                                                           RE; Inquiry


  Dea.
 The products we sell are isotopically labeled and used as internal standards for analytical purposes. The concentrations




..
 noted below are micrograms/ mi.
 We are unable to provide the quantity you need.
 Thank you for your inquiry .




Word I am gelling from pharmilcist is that we would need "USP" grade and
crystalline form for bulk orders to be used to compound? Thanks
                                                                                                                                                                                   .s           asking if the Pentobarbltal comes in a




.~ON/ l(J[H \IA' HY. Thi.:< bf()!ff'3'4•.'li' Wlll?-~1t':d in &:I~ P."fl'',(~i i'l,r~~\~i::, li'l" uO"l>J 1)r1y ~r.t.~)'.1lt ·rl!'.. ls    1H1~Pfod orly b !Im p21sor1J. c1;nf1Ger1«; cd 1..riv;·~Bf'.i {el!t1Qf lt>S.iJlt 01 l'!lh€ 1Wisot uso ol lt'o lqdwkf:...·31 to
wr1,;h I! ;s .:.ict::ifM'S.e.rJ, lh€s om<U rM:~r.rn:;r Md na;'l~hrn~nL\ mav r:o.11;;.in. l'.'~.>f\~i.1(ln! JJ :t'Drrrrnhi:.•r. lfli.3~     ~ pip\;-Jtlc?U by At:<l''Mr11...u.n1 p::vJ&Je o:iz-; 11xtHnp1 rrn:n dAck\~trr!f. 1m;}a1 :1ppln?t~: !iiw. P Oin il(q;;1A ol in::.
n11\ "~-l~t:· \ nof the~ f(1'.P1Uf'0 1J.'.'r lr;.r•: I ~r?~I ::i.'H nfl-li~tt11 lhi1i ;i;,~y uivirw, .1~.P ~l.!\r:h;u·~ ,j,v·ib11!:M ::._r 1:nr•y/OQ cf 1hr. COflvpor~~;tj,Jf'. 1::- t!r~ily i>10:1 t.'f<C. ll \'OO l1a~~~ rvu:~.ve<J lfJ1,<, ((lfl!!P.!l 1\;,J; :11• rr. t)ii(Y, r~,3!;6
c.,y1l~t the :~~;1dr 1 ny rvr.it r mn1! 1rr·!'lm1ifl!-Ol). :7\d dM'."'">t' ;:;.t ~ujv:: :;I lh{; (~f?.·:-;Jl ffKr;;~~ll




SUbject: RE: Inquiry


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senders or unexpected email - STS-Securlty. •••




                                                                         000029
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                                                                                                                                                                                                                                                Attachment 19
                                                                                                                                                                                                                                                         1496
 As discussed over the phone
 copied to thls email is our

                          PENTOBARBITAL, (ETHYL·DS, 98%)
                     PENTOBARBITAL, (05, 98%) 100 UG/ML IN METHANOL
                     PENTOBARBITAL; UNLABELED 1.0 MG/ML IN METHANOL
                     PENTOBARBJTAL, (DS, 98%) 1000 UG/ML IN METHANOL

 Best Regards,




From:
Se~                                                06, 2017 9:35 AM
To:---
Subject: Inquiry

I am looking to purchase Pentobarbltal CAS # 76·74-4. We would need at least 100 grams to start with. Please let me
know if you need any other info and if your organization would be able to and willing to source this material. Thank you.




\X':NtlOCNt !Al if)' Ht~ inh..~ln.:tUnn cris1w.·1:f.'\.l \;1 fhjb ~·Ill~ tr.~:il>~lt. nw.~ .l!.llY rtH~. ):·twn)J. i<;, lri\•r.<led 00'1) f(~ ff'!'{'! (~?t.n."Hlt}. ir.«d·d(t !to/. &!1-0 Pf)V.:';\j~d {(itf){)f lo!Joi!y Of(lfhH\\'ls{ll IJSQ 0( Hia Ind virt.1:11 to
Which ij IS oortrn°'e1! lhA f.!fll'.i lf!ESb<;JO           ~·~ ;ilb>;h!Wl\l.l 1/lll)' ooniil'n tO!'~'\'.{lllU;J! l/~C!ffilllO/I th 3' ~ iltlJIX:llin Ii\' ll1•YU1y1()1(>"\!l'i•lt91J .1110 e;~mp\ fro'l1 d·1C)orn-O U\dlli <l~'itil\Jk lw I' J<O .,,;;q;I o{ \hit
11~~4)!$ t~ hO{ il4l tr·tU11t'f'~"J n.....:lp!erit, Y.,\11 ~~r<.! nn::if~d fhftl (l:lf rsviN1, 115£', dltckVi1>n.:i. di'i(tit!!Jlkm ()((!::ppr~ (}-t ll:h 1,{v1nr1UP!t:..~.sr, IC !.-lit~t pn:~b~lel1 II yJ\J huvo rece1w:d His- f:l.XlH~\l·ti>C.iliM1 ~!(war, ~ 1!\?:oi;;c
>'l\fl-f; ll'J:: ~"1!rfl'f ttr 1Nllt (' 111-1!1 :p !!'NJ·.:~l 1:ily :mt! rlr:~trl':y .~knp<f·~ .)J i~.t! {.\'i\,I iAi :r~t!l$UQ(?~




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